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                                                July 9, 2022


Via Email
Chairman Bennie Thompson
c/o Kirstin Amerling, Esq.
1540 A Longworth HOB
Washington, DC 20515

           Re:   Stephen K. Bannon

Dear Chairman Thompson:

    On the morning of October 19, 2021, you denied our request for a one week
adjournment in light of the filing of a lawsuit by President Donald J.Trump. Later that
same day, your Committee voted to recommend Stephen K. Bannon to the full House
for a finding of criminal contempt. After that, later that same evening, you wrote to me
to make a point that your Committee was always willing to hear Mr. Bannon’s testimony
should he “change his posture” or should circumstances change.

   Mr. Bannon has not had a change of posture or of heart. Mr. Bannon has always
been consistent, that because President Trump invoked executive privilege with respect
to Mr. Bannon’s testimony and the production of requested documents, Mr. Bannon was
obligated to honor the President’s invocation, unless and until, either your Committee
reached a constitutionally required accommodation with President Trump as to the
invocation of executive privilege or your Committee obtained a ruling from the Federal
District Court that the invocation of executive privilege was improper or did not apply to
the particular question or document sought. I consistently informed you that if either of
those events took place, Mr. Bannon would comply with the decision.

   While Mr. Bannon has been steadfast in his convictions, circumstances have now
changed. President Trump has provided us with a letter, which is attached, attesting to
the fact that back in October 2021, he did invoke executive privilege with respect to Mr.
Bannon’s testimony and document production.

   Further, in light of the surrounding circumstances, even in the absence of any effort
by your Committee to reach the requested accommodation with President Trump,
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President Trump has decided that it would be in the best interests of the American
people to waive executive privilege for Stephen K. Bannon, to allow Mr. Bannon to
comply with the subpoena issued by your Committee. Mr. Bannon is willing to, and
indeed prefers, to testify at your public hearing.

   Please contact me so that we can try to reach agreement on the time and place of
Mr. Bannon’s testimony.

                                          Very Truly Yours

                                        /s/ Robert J. Costello




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